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                                  MINUTE ORDER



  CASE NUMBER:             CRIMINAL NO. 17-00101-1 LEK
  CASE NAME:               USA vs. Anthony T. Williams


        JUDGE:      Leslie E. Kobayashi            DATE:            08/14/2020


 COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S MOTION
 DEMANDING DEPARTMENT OF JUSTICE TO CORRECT THEIR LIES SENT TO
 CLIENTS

         Before the Court is pro se Defendant Anthony T. Williams’s (“Defendant”) Motion
 Demanding Department of Justice to Correct Their Lies Sent to Clients (“Motion”), filed
 June 4, 2020. [Dkt. no. 1017.] Plaintiff United States of America (“the Government”) filed
 its response to the Motion (“Response”) on June 19, 2020. [Dkt. no. 1039.] The Court
 finds the Motion suitable for disposition without a hearing, pursuant to Local Rule 7.1(c).

         The crux of the Motion is that Defendant claims the Government sent letters, dated
 May 11, 2020, to Defendant’s clients and that the letters “erroneously classif[ied] them as
 victims.” [Motion at ¶ 1.] Defendant seeks an order requiring the Government to re-send
 the letters with corrections of what Defendant asserts are false statements in the letters.

        As stated in the Government’s Response, the letters that Defendant refers to are
 actually letters sent by the United States Probation Office (“USPO”), as required by the
 Mandatory Victims Restitution Act of 1996, and as part of the preparation of Defendant’s
 Presentence Investigation Report (“PSR”). See Response at 2-3; see also Response,
 Exh. A (example of letter sent by USPO, with the addressee’s information redacted).

        To the extent that the instant Motion challenges Defendant’s convictions themselves,
 that challenge is already before this Court in Defendant’s Motion for Judgment of
 Acquittal, which Defendant filed on March 15, 2020 and which he supplemented on
 March 30, 2020 and April 3, 2020. See dkt. nos. 955, 960, 968. Therefore, the Motion’s
 arguments challenging Defendant’s convictions will not be addressed.

        To the extent that Defendant disputes information in the draft PSR, including
 information that USPO obtained as a result of the letters dated May 11, 2020, Defendant
 must follow the process set forth in Federal Rule of Criminal Procedure 32 and Criminal
 Local Rule 32.1. Defendant is reminded that his sentencing statement is due on August 20,
 2020.
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       On the basis of the foregoing, Defendant’s Motion is HEREBY DENIED.

       IT IS SO ORDERED.

 Submitted by: Agalelei Elkington, Courtroom Manager
